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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                              PIKEVILLE DIVISION


CRIMINAL ACTION NO. 7:24-CR-0016-KKC


UNITED STATES OF AMERICA                                            PLAINTIFF


VS.


JUSTIN D. SLONE                                                     DEFENDANT


                                       ORDER

      The Defendant, JUSTIN D. SLONE, by counsel, having filed a Motion for

Rearraignment, and the Court being otherwise advised, IT IS HEREBY ORDERED that the

above-styled action be and hereby is SCHEDULED on: _________________________, 2025 at

_________m. in ________________________ for REARRAGINMENT.

      THIS the ____________ day of _______________________, 2025.




                                        __________________________________________
                                        JUDGE, UNITED STATES DISTRICT COURT
                                        EASTERN DISTRICT OF KENTUCKY
